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 1   ORD
     RICHARD HARRIS, ESQ.
 2   Nevada Bar No. 505
     KRISTINA R. WELLER, ESQ.
 3   Nevada Bar No.: 7975
     RICHARD HARRIS LAW FIRM
 4
     801 South Fourth Street
 5   Las Vegas, Nevada 89101
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 7   Attorneys for Petitioner
 8                                UNITED STATES DISTRICT COURT
 9                                        DISTRICT, NEVADA
10   In the Matter of the Compromise of the claim of       CASE NO.:      07-CV-00344
     GAVIN STEVENSON,
11
                           Petitioner
12                                                                 ORDER RELEASING FUNDS

13
            IT IS HEREBY ORDERED that since GAVIN STEVENSON is now 18 years of age, the
14
     total amount of the proceeds of the compromise which was deposited at City National Bank,
15
     Account Number ending in 4786 in a blocked Personal Savings account, be released in full,
16
     including any interest accrued, to GAVIN STEVENSON.
17

18
            DATED: September 29          , 2021.
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23                                                 Kent J. Dawson, U.S. District Judge
     Respectfully submitted by:
24
     RICHARD HARRIS LAW FIRM
25
     _________________________________
26   KRISTINA R. WELLER, ESQ.
27

28                                               Page 1 of 1
                                        In the matter of the Compromise of the Claim of Gavin Stevenson
                                                                                          07-CV-00344
